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     1:19-cv-00377-LEK-KJM  Doc
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     1:19-cv-00377-LEK-KJM  Doc
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     1:19-cv-00377-LEK-KJM  Doc
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     1:19-cv-00377-LEK-KJM Doc
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